            Case 2:21-cv-00020-TOR                  ECF No. 16           filed 12/01/21    PageID.467 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for thH_
                                                     Eastern District of Washington


                           SHAUN M.                                  )
                             Plaintiff                               )
                                v.                                   )        Civil Action No. 2:21-CV-0020-TOR
                                                                     )
                                                                     )
       COMMISSIONER OF SOCIAL SECURITY,
                            Defendant

                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

u the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other:
u              Plaintiff’s Motion for Summary Judgment (ECF No. 12) is DENIED.
               Defendant’s Motion for Summary Judgment (ECF No. ) is GRANTED.
               Judgment is entered for Defendant.

This action was (check one):

u tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

u tried by Judge                                                                          without a jury and the above decision
was reached.

✔
u decided by Judge                                   THOMAS O. RICE                            on the parties' FURVVmotionV for
      Summary Judgment (ECF Nos. 12 and 13).


Date: December 1, 2021                                                       CLERK OF COURT

                                                                             SEAN F. McAVOY

                                                                               B. Fortenberry
                                                                                           %\ Deputy Clerk

                                                                               B. Fortenberry
